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 9
10
11                       UNITED STATES DISTRICT COURT
12                      NORTHERN DISTRICT OF CALIFORNIA
13
14 DONALD HUNTINGTON, an                      Case No.
   individual,                                (Removed from Napa County Superior
15                                            Court, Case No. 18CV000681)
               Plaintiff,
16                                            WELLS FARGO BANK, N.A.’S
         v.                                   NOTICE OF REMOVAL
17
   WELLS FARGO BANK, N.A., a
18 National Association and DOES 1-100,
   INCLUSIVE,                                 Complaint Filed: May 23, 2018
19
               Defendants.
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 1                      TO THE HONORABLE JUDGES OF THE UNITED STATES
 2 DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,
 3 AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 4
 5                      PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441,
 6 and 1446 Defendant Wells Fargo Bank, N.A. (“Wells Fargo”) hereby removes to
 7 this Court the state court action styled as Donald Huntington v. Wells Fargo Bank,
 8 N.A., Napa County Superior Court, Case No. 18CV000681. The following is a
 9 listing of the pleadings to date and a short and plain statement of the grounds for
10 removal:
11
12                                 STATE COURT COMPLAINT
13
14                      1.   On May 23, 2018, Plaintiff Donald Huntington (“Plaintiff”) filed
15 his complaint against Defendant Wells Fargo and Does 1-100, inclusive, in the
16 Superior Court for the State of California, County of Napa, Case No. 18CV000681
17 (the “Complaint”).
18
19                      2.   Wells Fargo received a copy of the Complaint and Summons
20 when Plaintiff served its registered agent for service on May 29, 2018. A copy of
21 the Complaint and Summons are attached hereto as Exhibit A, which contains all of
22 the documents served on Wells Fargo by Plaintiff and the entire state court file to
23 date.
24
25                      3.   Wells Fargo has not yet responded to Plaintiff’s Complaint.
26
27
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 1                           THIS COURT HAS DIVERSITY JURISDICTION
 2
 3                      4.     This Court has original diversity jurisdiction over this action
 4 under 28 U.S.C. § 1332 because there is complete diversity of citizenships between
 5 the parties (Plaintiff is a citizen of California and (for removal purposes) Wells
 6 Fargo is a citizen of South Dakota) and because the amount in controversy exceeds
 7 $75,000.00, exclusive of interest and costs.
 8
 9 Complete Diversity of Citizenship Exists
10
11                      5.     Plaintiff alleges that he is a resident of the State of California.
12 Complaint, ¶ 1. Thus, for purposes of determining diversity jurisdiction, Plaintiff is
13 a citizen of California. See Heinz v. Havelock, 757 F. Supp. 1076, 1079 (C.D. Cal.
14 1991) (residence and property ownership are factors in domicile for diversity
15 jurisdiction).
16
17                      6.     Wells Fargo is not a citizen of California. Wells Fargo is a
18 national association not organized under the laws of any state. National banks are
19 “deemed citizens of the States in which they are respectively located.” 28 U.S.C.
20 § 1348. For purposes of diversity jurisdiction, a national bank is “located” only in
21 the state where the bank has designated its main office. Rouse v. Wachovia
22 Mortgage, FSB, 747 F.3d 707, 715 (9th Cir. 2014) (holding that, under 28 U.S.C.
23 § 1348, “a national banking association is a citizen only of the state in which its
24 main office is located,” and further holding that “Wells Fargo is a citizen only of
25 South Dakota, where its main office is located”). Wells Fargo has designated its
26 main office as located in South Dakota; accordingly, Wells Fargo is a citizen of
27 South Dakota, and no other state for diversity purposes. See id.
28

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 1                      7.   For purposes of determining diversity jurisdiction, the citizenship
 2 of “Doe” defendants being sued under fictitious names is disregarded. See 28
 3 U.S.C. § 1441(b)(1).
 4
 5 The Amount In Controversy Exceeds $75,000.00
 6
 7                      8.   “In actions seeking declaratory or injunctive relief, it is well
 8 established that the amount in controversy is measured by the value of the object of
 9 the litigation. If the primary purpose of a lawsuit is to enjoin a bank from selling or
10 transferring property, then the property is the object of the litigation.” Reyes v.
11 Wells Fargo Bank, N.A., 2010 U.S. Dist. LEXIS 113821, at *12-13 (N.D. Cal. June
12 29, 2010) (internal citations omitted). Some courts have held the amount in
13 controversy in such cases should be measured by the amount of indebtedness. See
14 Nguyen v. Wells Fargo Bank, N.A., 749 F. Supp. 2d 1022, 1028-29 (N.D. Cal. 2010)
15 (noting the split in approach by district courts). Here, Plaintiff is seeking
16 “injunctive relief stopping any non-judicial foreclosure sale” of the real property
17 located at 9 Saint Francis Circle, Napa, CA 94558 (the “Subject Property”).
18 Complaint, prayer. Wells Fargo is informed and believes that the Subject Property
19 is worth in excess of $700,000.1 With regard to the amount of indebtedness at issue
20 in this case, Plaintiff alleges that he obtained a loan from Wachovia Mortgage
21 Corporation in the principal amount of $100,000, a loan that was later transferred to
22 Wells Fargo. Complaint, ¶¶ 22-23.
23
24                      9.   Accordingly, under either approach, the amount in controversy
25 exceeds $75,000.
26
     1
             Wells Fargo notes that estimates of the value of the Subject Property are readily
27           available online on such websites as Redfin. See e.g.,
28           https://www.redfin.com/CA/Napa/9-St-Francis-Cir-94558/home/12209933

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 1             THIS NOTICE OF REMOVAL IS PROCEDURALLY PROPER
 2
 3                      10.   In accordance with 28 U.S.C. § 1446(a), all copies of papers
 4 filed in the State Court action as of the filing of this Notice of Removal are attached
 5 to this Notice.
 6
 7                      11.   This Notice of Removal is timely under 28 U.S.C. § 1446(b) and
 8 Federal Rule of Civil Procedure 6(a) because it is filed on June 28, 2018, which is
 9 within 30 days of the first service on any defendant of a copy of the complaint,
10 excluding "the day of the act, event, or default from which the designated period of
11 time begins to run."
12
13                      12.   Venue in this Court is proper pursuant to 28 U.S.C. § 1446(a)
14 because this action was removed from Napa County Superior Court, located within
15 the District and Division of the Court.
16
17                      13.   Pursuant to 28 U.S.C. § 1446(d), Wells Fargo is providing
18 written notice to Plaintiff of the removal of this action.
19
20                      14.   Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of
21 Removal is being filed with the Clerk of the Superior Court of the State of
22 California, County of Napa.
23
24                      15.   Wells Fargo is the only named defendant in this action. Wells
25 Fargo is not required to investigate the identity of the unnamed defendants or to
26 obtain their consent for removal. See Newcombe v. Adolf Coors Co., 157 F.3d 686,
27 690-691 (9th Cir. 1998). In any event, no Doe defendant has been served. Wells
28 Fargo is not required to obtain consent to remove from defendants who have not

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 1 been served. See 28 U.S.C. § 1446(b); Salveson v. Western States Bankcard Ass’n,
 2 731 F.2d 1423, 1429 (9th Cir. 1984).
 3
 4                                           CONCLUSION
 5
 6                      For all of the reasons set forth above, Wells Fargo removes the original
 7 action brought by Plaintiff in the Superior Court of the State of California for the
 8 County of Napa to this Court.
 9
10 Dated: June 28, 2018
11                                     SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
12
                                       By                   s/ Mark G. Rackers
13
                                                           EDWARD D. VOGEL
14                                                          JOHN C. DINEEN
15                                                         MARK G. RACKERS

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17                                                  WELLS FARGO BANK, N.A.
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             EXHIBIT A




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